          Case 1:21-cv-02265-APM Document 333 Filed 10/21/24 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                  )
    CONRAD SMITH, et al.,                         )
                                                  )
          Plaintiffs,                             )
                                                  )
                 v.                               )    Case No. 21-cv-2265 (APM)
                                                  )
    DONALD J. TRUMP, et al.,                      )
                                                  )
          Defendants.                             )
                                                  )

                                                  )
    DISTRICT OF COLUMBIA,                         )
                                                  )
          Plaintiff,                              )
                                                  )
                 v.                               )    Case No. 21-cv-03267 (APM)
                                                  )
    PROUD BOYS                                    )
    INTERNATIONAL, L.L.C., et al.,                )
                                                  )
          Defendants.                             )
                                                  )


                              AMENDED SCHEDULING ORDER

         Pursuant to Plaintiff District of Columbia’s and the Smith Plaintiffs’ Motion to Modify the

Amended Scheduling Order (the “Motion”), and the Court’s August 7, 2024 Minute Order

extending the deadline for the close of fact discovery to January 27, 2025, the Court hereby orders

the following with regard to further proceedings in this matter 1:




1
 Citations are to the docket in District of Columbia v. Proud Boys Int’l, LLC et al., 21-cv-03267
(APM). The Court previously ordered that the discovery deadlines in the District of Columbia
action would be “the same as those entered in” Smith, et al. v. Trump, et al., 21-cv-02265 (APM).
Min. Order, Apr. 17, 2023. Consistent with that approach, the moving parties propose that this
amendment extend to both actions.
Case 1:21-cv-02265-APM Document 333 Filed 10/21/24 Page 2 of 6




  I.   Scheduling

          a. The deadlines contained in the January 16, 2024 Scheduling Order, ECF

              No. 274, are hereby vacated.

          b. Fact discovery shall now conclude on January 27, 2025;

          c. Proponent expert reports and disclosures, consistent with Rule 26(a)(2),

              shall now be made no later than February 18, 2025;

          d. Rebuttal expert reports and disclosures, consistent with Rule 26(a)(2),

              shall now be made on or before March 11, 2025;

          e. Expert discovery shall conclude now on April 15, 2025;

           f. A Post-Discovery Status Conference shall be held on April 21, 2025, at
              2:00 p.m.


              The parties may not extend by stipulation the deadlines for Joint Status
              Reports, the end of fact discovery, or the close of expert discovery.
              Instead, the parties must seek an extension of time, preferably by filing a
              consent motion with the court. A motion to extend any deadline shall
              indicate whether any previous extensions were requested and granted. The
              parties may modify all other interim deadlines by stipulation. If the parties
              cannot agree to a schedule modification, the party seeking additional time
              must file a motion and show good cause for the modification.
              Likewise, a request for additional time to conduct discovery must be made
              on or before the discovery deadline. A request for an extension of time
              made after the discovery deadline will be considered untimely.

 II.   Limits on Discovery.
       Parties shall not exceed the numerical limitations placed on the various methods
       of discovery as set forth in the Federal Rules of Civil Procedure, unless granted
       leave by the court.

III.   Discovery Disputes.




                                        2
        Case 1:21-cv-02265-APM Document 333 Filed 10/21/24 Page 3 of 6




              In the event that a discovery dispute arises, the parties shall make a good faith
              effort to resolve or narrow the areas of disagreement. If the parties are unable to
              resolve the discovery dispute, then the parties shall jointly call Judge Mehta’s
              chambers at (202) 354-3250, at which time the court will either rule on the issue
              or determine the manner in which it will be handled. The parties may not file a
              discovery motion without leave of court.

              Disputes regarding discovery must be raised on or before the discovery deadline.
              Disputes raised after the deadline will be considered untimely.



IT IS SO ORDERED.
                                            Amit            Digitally signed by
                                                            Amit Mehta

On this ____ day of ________, 2024.
                                            Mehta           Date: 2024.10.19
                                                            16:06:36 -04'00'
                                            ____________________________________

                                            The Honorable Amit P. Mehta

                                            United States District Court Judge




                                                3
        Case 1:21-cv-02265-APM Document 333 Filed 10/21/24 Page 4 of 6




                                   Local Rule 7(k) Appendix

The following attorneys and parties should be notified of this order:

              All counsel of record, via ECF

              Service of Process
              Secretary of State
              P.O. Box 12079
              Austin, Texas 78711-2079
              ATTN: Proud Boys International, L.L.C.
              PO Box 12079, Austin TX 78711

              Oath Keepers
              4625 West Nevso Dr., Suite 2 & 3
              Las Vegas, NV 89103

              Marc Anthony Bru
              10013 NE Hazel Dell Ave. #2
              Vancouver, WA 98685-5203

              William Chrestman
              D.C. Central Detention Facility DCDC No. 376975
              1901 D St., SE
              Washington, D.C. 20003

              Donovan Ray Crowl
              8201 Sea Star Drive
              Blacklick, OH 43004

              Nicholas DeCarlo
              27214-509
              Fort Worth Federal Correctional Institution
              Inmate Mail/Parcels
              P.O. BOX 15330
              Fort Worth, TX 76119

              Charles Donohoe
              NC Detention Center
              Orange County Jail
              125 Court Street
              Hillsborough, NC 27278

              Matthew Greene
              264 Burns Ave.
              Syracuse, NY 13206-2532
Case 1:21-cv-02265-APM Document 333 Filed 10/21/24 Page 5 of 6




    Joseph Hackett
    8457 Cypress Lake Cir.
    Sarasota, FL 34243-2915

    Arthur Jackman
    4030 N. Econlockhatchee Trail
    Orlando, Fl. 32817-1327

    Joshua James
    91 Chimney Rock
    Union Grove, AL 35175

    David Moerschel
    117 Angol St.
    Punta Gorda, FL 33983-5324

    Ethan Nordean, #28596-509
    FCI Coleman Medium
    Federal Correctional Institution
    P.O. Box 1032
    Coleman, FL 33521

    Nicholas Robert Ochs
    3245 Virginia St
    Apt 56
    Miami, FL 33133-5250

    Daniel Lyons Scott
    122 W Perry Ln.
    Englewood, FL 34223-2943

    Jessica Marie Watkins
    FCI Tallahassee
    Federal Correctional Institution
    Register Number: 26050-509
    P.O. Box 5000
    Tallahassee, FL 32314

    Christopher John Worrell
    282 Stanhope Cir.,
    Naples, FL 34104-08

    Erik Scott Warner, #49812-509
    FCI Lompoc I
    Federal Correctional Institution
    3600 Guard Road
    Lompoc, CA 93436
                                       2
Case 1:21-cv-02265-APM Document 333 Filed 10/21/24 Page 6 of 6




    Felipe Antonio "Tony" Martinez, #49780-509
    FCI Yazoo City Low II
    Federal Correctional Institution
    P.O. Box 5000
    Yazoo City, MS 39194

    Derek Kinnison, #49801-509
    FCI Lompoc I
    Federal Correctional Institution
    3600 Guard Road
    Lompoc, CA 93436

    Alan Hostetter, #49779-509
    FCI Oakdale I
    Federal Correctional Institution
    P.O. Box 5000
    Oakdale, LA 71463




                                       3
